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                     IN THE UNITED STATES DISTRICT COURT
                        WESTERN DISTRICT OF ARKANSAS
                             FAYETTEVILLE DIVISION


 CRIMINAL NO.:      13-50079-001               USA v. IVAN JIMINEZ

 COURT PERSONNEL:                              APPEARANCES:

 Judge:      TIMOTHY L. BROOKS                 Govt.: BRANDON CARTER

 Clerk: GAIL GARNER                            Deft.: REX CHRONISTER/RON FIELDS

 Reporter: DANA HAYDEN                         Interpreter: DEBBIE ANDRADE


                           SENTENCING MINUTE SHEET


       On this date the above named defendant appeared in person and with counsel for
 sentencing and is sworn.

       (X)   Inquiry made that defendant is not under influence of alcohol or drugs and
             is able to comprehend proceedings.

       (X)   Inquiry made whether defendant is under the care of a physician or taking
             any medication and is able to comprehend proceedings.

       (X)   Inquiry made that defendant is satisfied with counsel.

       (X)   Court determined that defendant and counsel have had opportunity to read
             and discuss presentence investigation report.

       (X)   Presentence investigation report reviewed in open court.

       (X)   Court expresses final approval of plea agreement.

       (X)   Government moves for downward departure pursuant to 5K1.1 - granted by
             court and two-level departure awarded.

       (X)   Counsel for defendant moves for a variance because of health issues.
             Denied by the court.
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       (X)   Counsel for defendant afforded opportunity to speak on behalf of defendant.

       (X)   Defendant afforded opportunity to make statement and present information
             in mitigation of sentence.

       (X)   Attorney for government afforded opportunity to make statement to court.

       (X)   Court proceeded to impose sentence as follows:

             292 months imprisonment; 5 years supervised release; $10,000.00 fine
             imposed - interest waived.

       (X)   Defendant ordered to comply with standard conditions of supervised release.

       (X)   Defendant ordered to pay total special assessment of $100.00, which shall
             be due immediately.

       (X)   Defendant advised of right to appeal sentence imposed.

       (X)   Defendant advised of right to apply for leave to appeal in forma pauperis.

       (X)   Count 2 and forfeiture allegation are dismissed on motion by the
             government.

       (X)   Defendant remanded to custody of USMS.


 DATE: June 9, 2014                                           Proceeding began: 9:15 am

                                                                       ended: 11:04 am
